
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
IT IS ORDERED that the Petition for Consent Discipline be accepted and that the name of Timothy Baucum Burnham, Louisiana Bar Roll number 14114, be stricken from the roll of attorneys and that his license to practice law in the State of Louisiana be revoked.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
KNOLL, J., would reject the current discipline and impose permanent disbarment.
